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21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 3 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 4 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 5 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 6 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 7 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 8 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 9 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 10 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 11 of 76
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                Financial Form 206S with Addendum Pg 12 of 76
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                Financial Form 206S with Addendum Pg 13 of 76
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                Financial Form 206S with Addendum Pg 14 of 76
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                Financial Form 206S with Addendum Pg 15 of 76
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                Financial Form 206S with Addendum Pg 16 of 76
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                Financial Form 206S with Addendum Pg 17 of 76
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                Financial Form 206S with Addendum Pg 18 of 76
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                Financial Form 206S with Addendum Pg 19 of 76
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                Financial Form 206S with Addendum Pg 20 of 76
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                Financial Form 206S with Addendum Pg 21 of 76
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                Financial Form 206S with Addendum Pg 22 of 76
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                Financial Form 206S with Addendum Pg 23 of 76
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                Financial Form 206S with Addendum Pg 24 of 76
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                Financial Form 206S with Addendum Pg 25 of 76
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                Financial Form 206S with Addendum Pg 26 of 76
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                Financial Form 206S with Addendum Pg 27 of 76
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                Financial Form 206S with Addendum Pg 28 of 76
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                Financial Form 206S with Addendum Pg 29 of 76
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                Financial Form 206S with Addendum Pg 30 of 76
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                Financial Form 206S with Addendum Pg 31 of 76
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                Financial Form 206S with Addendum Pg 32 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 33 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 34 of 76
21-10699-dsj   Doc 310-1 Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit A:
                Financial Form 206S with Addendum Pg 35 of 76
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                Financial Form 206S with Addendum Pg 36 of 76
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                Financial Form 206S with Addendum Pg 37 of 76
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                Financial Form 206S with Addendum Pg 38 of 76
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                Financial Form 206S with Addendum Pg 39 of 76
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                Financial Form 206S with Addendum Pg 40 of 76
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                Financial Form 206S with Addendum Pg 41 of 76
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                Financial Form 206S with Addendum Pg 43 of 76
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                Financial Form 206S with Addendum Pg 44 of 76
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                Financial Form 206S with Addendum Pg 45 of 76
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                Financial Form 206S with Addendum Pg 46 of 76
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                Financial Form 206S with Addendum Pg 47 of 76
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                Financial Form 206S with Addendum Pg 48 of 76
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                Financial Form 206S with Addendum Pg 49 of 76
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                Financial Form 206S with Addendum Pg 50 of 76
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                Financial Form 206S with Addendum Pg 51 of 76
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                Financial Form 206S with Addendum Pg 52 of 76
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                Financial Form 206S with Addendum Pg 53 of 76
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                Financial Form 206S with Addendum Pg 54 of 76
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                Financial Form 206S with Addendum Pg 55 of 76
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